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                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO       DIVISION


  IN RE:
   KrisJenn Ranch, LLC, Series Pipeline Row          CASE NO.             20-51084-RBK
                                                     CHAPTER 11

  PROCEEDING MEMO - §341 MEETING ON                  7/13/20       , AT    10:30       a.m.

  1.     Disclosure statement filed by attorney for debtor pursuant to 11 U.S.C. § 329 and
         Bankruptcy Rule 2016(b): YES

  2.     Debtor(s) appeared:    YES

  3.     Counsel for debtor(s) appeared: YES

  4.     Meeting adjourned to                              , at              a.m.

         OR

         Meeting concluded: YES

  5.     Notes of Presiding Officer:

         - amend petition
         - amend Schedule D?




  DATE PETITION FILED:          4/27/20
  BAR DATE:         10/13/20
  PLUS 120 DAYS:             8/25/20

  CREDITORS' COMMITTEE FORMED: NO                    NOTICE OF APPOINTMENT FILED:




                                                     /s/ Shane P. Tobin
                                                                   Presiding Officer



                                                                                       REV 7/1/2003
